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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.                                              Case No. 21-cr-178-APM

 MARKUS MALY,

      Defendant.

                    GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                       PURUSANT TO LOCAL CRIMINAL RULE 49

          The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the exhibits that were provided to the Court and defense counsel on

April 18, 2023, via USAfx, in relation to Government’s Sentencing Memorandum. Because the

exhibits are video clips, screenshots, and other electronic media, they are not in a format that

readily permits electronic filing on CM/ECF.

          The list of the exhibits and a summary of each is attached as Exhibit A to this Notice.

          The United States takes the position that the entered exhibits should be promptly released

to the public.

                                                Respectfully submitted,

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                                                UNITED STATES ATTORNEY



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